Case 1:17-cv-00124-LLS Document 222-3 Filed 04/14/22 Page 1 of 6




           Graham Ex. C
                Case 1:17-cv-00124-LLS Document 222-3 Filed 04/14/22 Page 2 of 6
                             Underwood - Individual - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                                                                   8/21/2020
                                                              1                                                               3
  1                  UNITED STATES DISTRICT COURT                  1     ON BEHALF OF DEFENDANTS:
  2                  SOUTHERN DISTRICT OF NEW YORK                 2             GEOFFREY W. CASTELLO, ESQ.
  3                                                                3             JACLYN M. METZINGER, ESQ.
  4   FEDERAL TRADE COMMISSION and        )                        4             GLENN T. GRAHAM, ESQ.
  5   THE PEOPLE OF THE STATE OF          )                        5             Kelley Drye & Warren
  6   NEW YORK, by LETITIA JAMES,         ) Matter No.             6             One Jefferson Road
  7   Attorney General of the State       ) 1:17-cv-00124-LLS      7             Second Floor
  8   of New York,                        ) CONFIDENTIAL           8             Parsippany, New Jersey 07054
  9                  Plaintiffs,          ) ATTORNEYS' EYES        9             (973) 503-5922
 10            v.                         ) ONLY                  10             gcastello@kelleydrye.com
 11   QUINCY BIOSCIENCE HOLDING           )                       11
 12   COMPANY, et al.,                    )                       12
 13                  Defendants.          )                       13     ON BEHALF OF THE WITNESS:
 14   ------------------------------------)                       14             MICHAEL B. DeLEEUW, ESQ.
 15                                                               15             TAMAR WISE, ESQ.
 16                            Friday, August 21, 2020            16             Cozen O'Connor
 17                            Via Zoom                           17             45 Broadway
 18                                                               18             16th Floor
 19            The above-entitled matter came on for the          19             New York, New York 10006
 20   deposition of MARK YANCEY UNDERWOOD, in his individual      20             (212) 908-1331
 21   capacity, pursuant to notice, at 8:33 a.m., Central         21             mdeleeuw@cozen.com
 22   time; 9:33 a.m., Eastern time.                              22
 23                                                               23
 24                                                               24     ALSO PRESENT:
 25                                                               25             William Ducklow, FTC

                                                              2                                                               4
  1    APPEARANCES:                                                1                  FEDERAL TRADE COMMISSION
                                                                   2                         I N D E X
  2                                                                3
  3    ON BEHALF OF THE FEDERAL TRADE COMMISSION:                  4   WITNESS:                                     EXAMINATION:
                                                                   5   MARK YANCY UNDERWOOD
  4            ANNETTE SOBERATS, ESQ.
                                                                   6   BY MS. SOBERATS:                                 9
  5            MICHELLE RUSK, ESQ.                                 7
  6            EDWARD GLENNON, ESQ.                                8
                                                                   9   EXHIBITS            DESCRIPTION              FOR ID
  7            Federal Trade Commission                           10   Number MU-26 Underwood Notice of                13
  8            600 Pennsylvania Avenue, N.W.                                        Deposition
                                                                  11
  9            Washington, DC 20580                                    Number MU-27 Underwood Biographical             14
 10            (202) 326-2921                                     12                Sketch
                                                                  13   Number MU-28 Quincy Bioscience Holding          45
 11            asoberats@ftc.gov
                                                                                    Company's Answers to the
 12                                                               14                Federal Trade Commission's
 13                                                                                 Civil Investigative Demand
                                                                  15                Interrogatories
 14    ON BEHALF OF THE STATE OF NEW YORK:                        16   Number MU-29 8/24/16 Richards Group             47
 15            KATE MATUSCHAK, ESQ.                                                 Correspondence
                                                                  17
 16            Assistant Attorney General for the                      Number MU-30 2/25/16                            54
 17              State of New York                                18                Underwood/Olson/Seney Email
                                                                                    Exchange
 18            Consumer Frauds and Protection Bureau
                                                                  19
 19            120 Broadway                                            Number MU-31 Alzheimer's Conference             99
 20            New York, New York 10271                           20                Announcement
                                                                  21   Number MU-32 8/29/11 Olson/Benson Email        101
 21            (212) 416-6189                                                       Exchange
 22            kate.matuschak@ag.ny.gov                           22
                                                                       Number MU-33 3/7/12 Olson/Benson Email         104
 23                                                               23                Exchange
 24                                                               24   Number MU-34 Advances Madison Memory           110
                                                                                    Study Publication
 25                                                               25


                                                                                                                1 (Pages 1 to 4)
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                  Case 1:17-cv-00124-LLS Document 222-3 Filed 04/14/22 Page 3 of 6
                             Underwood - Individual - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                                                                 8/21/2020
                                                              5                                                               7
  1   EXHIBITS         DESCRIPTION        FOR ID                    1   Kelley Drye & Warren, LLP. I have with me my
  2   Number MU-35 12/18/15 Underwood/Beaman     118
            Email Re: Prevagen                                      2   colleagues, Jaclyn Metzinger and Glenn Graham on behalf
  3         Scientific Summary                                      3   of the corporate defendants. Also appearing today on
  4   Number MU-36 12/15/18 Underwood/Beaman     142
            Email Re: Systemic Review                               4   behalf of Defendant Mark Underwood, Michael deLeeuw and
  5         of Prevagen Science                                     5   Tamar Wise, Cozen O'Connor, LLP.
  6   Number MU-37 Underwood/Prendamano Email 145
  7   Number MU-38 11/1/10 Underwood/Klein     150                  6         VIDEO TECHNICIAN: Would the court reporter
            Email Exchange                                          7   please swear in the witness.
  8
      Number MU-39 3/19/14 Adams/Moran Email      162               8   Whereupon--
  9                                                                 9                MARK YANCEY UNDERWOOD
      Number MU-40 5/22/15 Underwood/Moran       168
 10         Email Exchange
                                                                   10   a witness, called for examination, having been first
 11   Number MU-41 Quincy GRAS Submission        175               11   duly sworn, was examined and testified as follows:
 12   Number MU-42 10/16/12 FDA Warning Letter   181
 13   Number MU-43 7/5/11 Beaman/Dvorak Email     191
                                                                   12         MS. SOBERATS: Mr. Castello, before we get
 14   Number MU-44 Underwood/Beaman Email Re:      195             13   started, I think you're muted.
            Congressman Burgess                                    14         MR. CASTELLO: I'm not muted, I'm having a
 15
      Number MU-45 11/23/15 Warren/Underwood    199                15   problem with my headset here. Go ahead, Annette.
 16         Email Exchange                                         16         MS. SOBERATS: I thought before we would get
 17   Number MU-46 Prevagen Professional    201
            Markup                                                 17   started, we would discuss the agreement that we reached
 18                                                                18   yesterday. Yesterday the parties reached an agreement
      Number MU-47 7/25/14             203
 19         Underwood/Olson/Lerner                                 19   on the duration of Mr. Underwood's 30(b)(6) deposition
            Email Exchange                                         20   and his deposition in his individual capacity. We
 20
      Number MU-48 Olson/Underwood/Lerner        207               21   agreed that for the portion of the 30(b)(6), the
 21         Email Re: Madison Memory                               22   Plaintiffs would be entitled to five hours of testimony,
            Study VL 9-30-15
 22                                                                23   and for the individual deposition, Plaintiffs would have
 23   OTHER EXHIBITS REFERENCED                  PAGE              24   seven hours of testimony. One of the terms of that
 24   MU-3                  64
 25                                                                25   agreement was, based on my understanding, that Mr.

                                                              6                                                               8
  1                 PROCEEDINGS                                     1   Underwood's testimony as a 30(b)(6) witness would be
  2                 - - - - -                                       2   adopted into his testimony as an individual -- as an
  3           VIDEO TECHNICIAN: Here begins disk 1 in the           3   individual witness.
  4     video deposition of Mark Underwood as an individual,        4         I just wanted to place that stipulation on the
  5     taken in the matter of Federal Trade Commission, et al.     5   record at the beginning and give you an opportunity to
  6     v. Quincy Bioscience Holding Company, Inc., et al. in       6   add anything that you would like to add.
  7     the United States District Court, Southern District of      7         MR. CASTELLO: Sure. At this point, I, of
  8     New York, Case Number 1:17-cv-00124-LLS.                    8   course, we don't know what questions you intend to ask
  9           Today's date is August 21st, 2020, and the time       9   today, I would ask, respectfully, that you not cover
 10     on the video monitor is 8:34 a.m. Central Daylight time.   10   ground that was explicitly covered yesterday. In that
 11     This deposition is being held remotely via                 11   case, Mr. Underwood would adopt his testimony from
 12     videoconference. The court reporter is Sally Quade on      12   yesterday in his role as a 30(b)(6) designee, as his
 13     behalf of For The Record. The video camera operator is     13   role today as an individual witness.
 14     Isaac Hoerner on behalf of For The Record.                 14         MS. SOBERATS: Okay, and I --
 15           Will counsel please introduce themselves and         15         MR. CASTELLO: And just to make sure that
 16     state whom they represent, beginning with the party        16   Mr. DeLeeuw agrees with that.
 17     noticing the deposition.                                   17         MR. DELEEUW: Absolutely.
 18           MS. SOBERATS: Good morning. Appearing for the        18         MS. SOBERATS: And I will just clarify that I
 19     Federal Trade Commission are attorneys Annette Soberats,   19   did state yesterday that nothing in our agreement barred
 20     Michelle Rusk and Edward Glennon, and investigator Will    20   Plaintiffs from covering the same topics, so long as
 21     Ducklow.                                                   21   they were asking new questions.
 22           MS. MATUSCHAK: And this is Kate Matuschak on         22         MR. CASTELLO: I agree. I do, Annette, have to
 23     behalf of the office of the New York State Attorney        23   take this on a question-by-question basis, and I'll let
 24     General.                                                   24   Mr. DeLeeuw speak for himself, but I certainly intend to
 25           MR. CASTELLO: Good morning. Geoffrey Castello,       25   stick with the spirit of our agreement in practical


                                                                                                              2 (Pages 5 to 8)
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               Case 1:17-cv-00124-LLS Document 222-3 Filed 04/14/22 Page 4 of 6
                             Underwood - Individual - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                                                               8/21/2020
                                                            57                                                             59
  1          MR. CASTELLO: I'm going to caution the witness       1
  2    that if in order to answer that question he be required
  3    to divulge any communication that the company had with
  4    counsel, that he not answer the question.
  5          THE WITNESS: Yeah, I'll have to heed Geoff's
  6    counsel.
  7          BY MS. SOBERATS:
  8




 21       Q. And does it refer to Quincy's interpretations of
 22    the results for the Groton Maze Recall task?
 23          MR. CASTELLO: I'm going to caution the witness
 24    that if in order to answer that question he be required
 25    to divulge any information that the company had with

                                                            58                                                             60
  1   counsel, that he not answer that question.                  1        BY MS. SOBERATS:
  2       THE WITNESS: I'm going to have to follow                2      Q. And did you approve edits to Prevagen's
  3   Geoff's counsel.                                            3   packaging?
  4       BY MS. SOBERATS:                                        4      A. I would be one of the people that approved edits
  5                                                               5   to Prevagen's packaging, but not the sole individual.
                                                                  6      Q. Who else would approve edits to Prevagen's
                                                                  7   packaging?
  8         MR. CASTELLO: Is that question independent of         8      A. Internally, people that are part of our
  9   communications that the company had with counsel?           9   marketing and advertising team, as well as counsel.
 10         MS. SOBERATS: Yes.                                   10      Q. Does Mr. Beaman approve edits to Prevagen's
 11         MR. CASTELLO: So to the extent that the witness      11   packaging?
 12   can answer independent of any independent communications   12      A. He does not.
 13   that the company may have had with counsel on that         13      Q. Is he consulted before substantive changes to
 14   subject, he can answer.                                    14   Prevagen's packaging?
 15                                                              15      A. He is not.
                                                                 16      Q. Let's talk about the Brain Health Guide for a
                                                                 17   few moments. Have there been five editions to the Brain
                                                                 18   Health Guide?
                                                                 19      A. I don't know exactly.
                                                                 20      Q. Okay. Have you authored all of the editions of
                                                                 21   the Brain Health Guide?
                                                                 22      A. I have not.
                                                                 23      Q. Who else has authored them?
                                                                 24      A. We have different content contributors, both
                                                                 25   inside the company and outside the company.


                                                                                                       15 (Pages 57 to 60)
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               Case 1:17-cv-00124-LLS Document 222-3 Filed 04/14/22 Page 5 of 6
                             Underwood - Individual - Confidential
FTC, et al. v. Quincy Bioscience Holding, et al.                                                                 8/21/2020
                                                            85                                                               87
  1      A. Yeah.                                                  1      Q. And, Mr. Underwood, you testified earlier that
  2      Q. And I'd like you to turn to page 6, and just for       2   you have communications multiple times a week with Mr.
  3   the record, these are Defendant Quincy Bioscience            3   Underwood -- Mr. Beaman, pardon. And that you keep him
  4   Holding Company, Inc.'s Responses -- Answers to the          4   informed on research. Why do you keep Mr. Beaman
  5   FTC's Civil Investigative Demand Interrogatories. If         5   informed on research?
  6   you go to page 6, Mr. Underwood, I'd like you to look at     6      A. Well, it does affect some of the bigger picture
  7   interrogatory 4. The answer lists you, Mark Underwood,       7   items in our company, and so I mean, he's interested in
  8   as president and it states that you're involved in           8   how well the company is doing. He's interested in
  9   translation of scientific data into marketing language.      9   things like, you know, what the future might hold in
 10   Can you explain to me what that means?                      10   terms of what we're looking at developing and the path
 11      A. Sure. You've read a lot of our research, and          11   we're going for the future.
 12   you probably would also agree and recognize that some of    12         So, yeah, I do inform them of what's going on
 13   the topics that we research don't roll off the tongue       13   with research, although we do talk several times a week,
 14   real clearly if you don't have a background in              14   we rarely talk about research because we don't have
 15   neurosciences. And so we try to make that messaging         15   research updates several times a week. We have
 16   connect with people that don't have Ph.D.s. So in a         16   operational things, the basic running of the business
 17   sense we need to make sure that the things we learn in      17   that, you know, we might discuss, you know, one topic or
 18   the lab are translated into appropriate consumer            18   the next.
 19   language.                                                   19      Q. And has he requested to have these regular
 20         So part of that is for just clear communication,      20   communications with you?
 21   and part of that is probably more importantly to make       21      A. No.
 22   sure that we don't overextend or overpromise the type of    22         MR. CASTELLO: Objection.
 23   claim that we're making from research because, as you       23         THE WITNESS: And by regular, they're not --
 24   know, there are different agencies that are in charge of    24   they're not programmed, they're not scheduled. They're
 25   such, and we're never looking to be on the bad side of      25   on occasion. I haven't talked with Mike on the phone


                                                            86                                                               88
  1    them. So if data comes out of a lab that maybe shows        1   for a couple weeks, actually. At this current date.
  2    some sort of like -- I'll call it a disease-like            2         BY MS. SOBERATS:
  3    response, or dizzy -- treatment like, you know, status,     3      Q. Has Mr. Beaman requested to have communications
  4    even though that's scientifically valid, we have to make    4   with you multiple times a week?
  5    sure that we don't convey that to a consumer because it     5      A. No.
  6    would become an issue with perhaps the Food and Drug        6         MR. DELEEUW: Object to the form.
  7    Administration.                                             7         BY MS. SOBERATS:
  8          So part of it is, again, you knew, clear              8      Q. And do you feel that you need to keep Mr. Beaman
  9    communication to the consumer, and part of it is making     9   updated on developments at Quincy?
 10    sure that we know our audience so that we don't break a    10         MR. CASTELLO: Objection.
 11    rule when it comes to sharing what we might have           11         MR. DELEEUW: Object to the form.
 12    learned, we don't necessarily have the right to share      12         THE WITNESS: No, I don't.
 13    that fully with a consumer audience because of the         13         BY MS. SOBERATS:
 14    regulations we fall under.                                 14      Q. I want to talk specifically about the Madison
 15       Q. And you're involved in this process that you've      15   Memory Study. What was your role in that study?
 16    just described?                                            16      A. Well, similar to what we talked about for my
 17       A. I am, in conjunction with counsel. But yes.          17   role in other -- you know, in clinical studies and
 18       Q. Is Mr. Beaman involved in this process?              18   preclinical studies. The same -- the same type of
 19       A. No, he is not. To add, our entire team is            19   thing. Helping to organize the staff that conducts the
 20    involved in this process in terms of our marketing and     20   research, looking at the overall goals or aims of the
 21    advertising personnel, and we continue to learn and we     21   study. You know, I guess participating in the concepts
 22    continue to take those lessons that we learn along the     22   of what we wanted the protocol or the study goals to be,
 23    way and implement them into -- into our collective         23   and then letting our staff execute on those goals.
 24    experience so that we do it better and better,             24      Q. Did you review the recruitment ads for the
 25    hopefully, as time goes by.                                25   Madison Memory Study?


                                                                                                         22 (Pages 85 to 88)
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Case 1:17-cv-00124-LLS Document 222-3 Filed 04/14/22 Page 6 of 6
